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                                   1                               UNITED STATES DISTRICT COURT
                                   2                           NORTHERN DISTRICT OF CALIFORNIA
                                   3

                                   4    AMANDA TIMMONS,
                                                                                         Case No. 14-cv-00893-TEH
                                   5                  Plaintiff,
                                   6            v.                                       ORDER OF DISMISSAL
                                   7    ASSET LIQUIDATION GROUP,
                                        INCORPORATED,
                                   8
                                                      Defendant.
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                                  11          The Parties hereto, by their counsel, having advised the Court that they have agreed
                                  12   to a settlement of this cause,
Northern District of California
 United States District Court




                                  13          IT IS HEREBY ORDERED that this cause be dismissed with prejudice; provided,
                                  14   however, that if any party hereto shall certify to this Court, with proof of service of a copy
                                  15   to opposing counsel, within forty-five (45) days from the date of this order, that the agreed
                                  16   consideration for said settlement has not been delivered over, the foregoing Order shall
                                  17   stand vacated and this cause shall forthwith be restored to the calendar to be set for trial.
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                                  19   Dated: 8/20/2014                             _____________________________________
                                                                                     THELTON E. HENDERSON
                                  20                                                 United States District Judge
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